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                                   PRECEDENTIAL
           UNITED STATES COURT OF APPEALS
                FOR THE THIRD CIRCUIT
                     _____________

                         No. 20-2469
                        _____________

                          JANE DOE,
                                             Appellant

                               v.

                THE COLLEGE OF NEW JERSEY
                      _______________

         On Appeal from the United States District Court
                for the District of New Jersey
                   (D.C. No. 3:19-cv-20674)
             District Judge: Hon. Freda Wolfson
                       _______________

          Submitted Under Third Circuit L.A.R. 34.1(a)
                        April 13, 2021

     Before: CHAGARES, JORDAN, and SCIRICA, Circuit
                        Judges.

                     (Filed: May 18, 2021)
                       _______________
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                   OPINION OF THE COURT
                       _______________

   JORDAN, Circuit Judge.

          Jane Doe sued The College of New Jersey (“TCNJ” or
   “the College”), alleging retaliation and employment
   discrimination based on gender, national origin, and
   pregnancy. The District Court denied her motion to proceed
   anonymously, and she now seeks appellate review. While we
   conclude that, under the collateral order doctrine, we may hear
   an appeal from the denial of a motion to proceed anonymously,
   Doe does not present a case meriting permission to do so. We
   will therefore affirm.




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   I.    BACKGROUND1

          Doe began her employment as a tenure-track Assistant
   Professor at TCNJ’s School of Business in the fall of 2016.
   Before starting, she gave birth to her third child. She alleges
   that the Dean of the School of Business and the School of
   Business’s Department of Finance Chair made inappropriate
   comments about her recent pregnancy and her family,
   suggesting that they were relieved to think she was through
   having children and would not need pregnancy related
   accommodations in the future.

           Doe received positive peer reviews for classes she
   taught in 2017. But, after becoming pregnant with her fourth
   child, Doe says that the College faculty began to turn on her.
   She was reassigned from one of her upper-level finance classes
   to a lower-level finance class with about twice as many
   students, “result[ing] in an abnormally hard teaching
   arrangement.” (App. at 37 ¶¶ 51, 52.) After Doe had her fourth
   child, the Dean, the Department of Finance Chair, and other
   employees, on multiple occasions asked Doe if she was “done
   having more children.” (App. at 38 ¶ 63.)

          She was not, and she notified TCNJ in writing soon
   thereafter that she was pregnant again. In October 2018, a
   high-ranking TCNJ professor attended the same class that the
   professor had positively reviewed in 2017 but gave Doe a more
   negative review than before, although Doe claims there were




         1
           The facts recounted here are drawn from Doe’s
   complaint.




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   no material changes in the class from the previous year.2 Also
   in October, the former Department of Finance Chair visited
   one of Doe’s classes and reported “non-material deficiencies”
   in her teaching style, whereas he had given her a positive peer
   review when he visited a class of hers in 2017. (App. at 40 ¶
   81.) Doe reported the allegedly discriminatory reviews to the
   Interim Provost, formerly the Dean, who did not forward the
   complaint and instead “supposedly placed a record of
   discipline” in Doe’s personnel file. (App. at 40 ¶¶ 83-85.) Doe
   contends that the record of discipline was reported to the
   Promotion and Reappointment Committee to “deprive her of a
   fair reappointment process.” (App. at 41 ¶ 89.) She claims she
   subsequently “suffered emotional trauma, became depressed,
   and had a miscarriage.” (App. at 41 ¶ 91.)

           In 2019, Doe applied to renew her contract with the
   College and allegedly faced continued discriminatory and
   retaliatory treatment during the renewal process. She says that,
   in one meeting, she was falsely accused of cancelling classes
   and that the accusation was supported by fake or “doctored”
   student comments. (App. at 44, 45 ¶¶ 117-18, 125-26.) Doe
   was not reappointed to her teaching position.


          2
           We note that there is a discrepancy in the complaint as
   to whether the same professor reviewed the same class in 2017
   and 2018. Compare App. at 36 ¶ 44 (“On March 27, 2017, Dr.
   Choi attended Doe’ [sic] FIN 201 Class and gave her a very
   positive review.”) and App. at 37 ¶ 56 (“On November 11,
   2017, Dr. Mayo attended Doe’s FIN 330 Class and issued a
   positive peer-review.”) with App. 40 ¶ 77 (“On October 1,
   2018 Dr. Choi attended the same class FIN330 as in 2017.”).
   That discrepancy is immaterial to our holding.




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          She then filed a charge of discrimination with the
   EEOC, which issued a right to sue letter, and she filed this suit,
   alleging gender, national origin, and pregnancy discrimination,
   as well as retaliation, in violation of Title VII of the Civil
   Rights Act and the New Jersey Law Against Discrimination.
   Shortly after filing her complaint, she moved to proceed
   anonymously. The magistrate judge denied that motion, and
   the District Court affirmed the magistrate judge’s holding.
   Applying a multi-factor balancing test to weigh Doe’s interest
   in anonymity against the public’s interest in knowing the true
   identity of the parties, the Court held that Doe did not present
   the kind of exceptional circumstances that would permit her to
   proceed anonymously. Nevertheless, the Court stayed the
   implementation of its order, pending the outcome of this timely
   appeal.




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   II.    DISCUSSION3

          A.     We have jurisdiction to hear the appeal
                 under the collateral order doctrine.

          The College challenges our jurisdiction to hear this
   appeal.4 Although our jurisdiction is generally limited to “final
   decisions of the district courts[,]” 28 U.S.C. § 1291, we may
   also review a “small class” of non-final orders under the

          3
            The District Court had jurisdiction under 28 U.S.C.
   §§ 1331, 1367. TCNJ contests our jurisdiction on appeal. “We
   necessarily exercise de novo review over an argument alleging
   a lack of appellate jurisdiction.” United States v. Mitchell, 652
   F.3d 387, 391 (3d Cir. 2011) (en banc) (quoting Reilly v. City
   of Atlantic City, 532 F.3d 216, 223 (3d Cir. 2008). The denial
   of a motion to proceed anonymously is reviewed for abuse of
   discretion. Doe v. Megless, 654 F.3d 404, 407 (3d Cir. 2011).
   A district court abuses its discretion if its decision “rests upon
   a clearly erroneous finding of fact, an errant conclusion of law
   or an improper application of law to fact or when no reasonable
   person would adopt the district court’s view.” In re Zoloft
   (Sertraline Hydrochloride) Prod. Liab. Litig., 858 F.3d 787,
   792 n.22 (3d Cir. 2017) (internal quotation marks and citations
   omitted).
          4
            TCNJ argues that, because we have never held that
   orders denying motions to proceed anonymously fall within the
   collateral order doctrine, we lack jurisdiction to hear the
   appeal. But we have also never held that such orders are not
   appealable, so we approach the issue as one of first impression.
   TCNJ does not present any substantive argument precluding
   our appellate review.




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   collateral order doctrine. Cohen v. Beneficial Indus. Loan
   Corp., 337 U.S. 541, 546 (1949). To fall within the collateral
   order doctrine, the order must (1) conclusively determine the
   disputed issue, (2) resolve an important issue separate from the
   merits of the action, and (3) be “effectively unreviewable” on
   appeal from a final judgment. Mohawk Indus., Inc. v.
   Carpenter, 558 U.S. 100, 106 (2009) (citing Swint v. Chambers
   Cty. Comm'n, 514 U.S. 35, 40 (1995)).

          In determining whether we have jurisdiction over a non-
   final order, we focus on “the entire category to which a claim
   belongs” and do not engage in an “individualized jurisdictional
   inquiry.” Id. at 107 (citations omitted). We therefore apply the
   three-prong Cohen test to the general category of orders
   denying motions to proceed anonymously.

           First, an order denying a motion to proceed
   anonymously does conclusively decide whether the litigant has
   to disclose his or her true identity. Absent appellate review,
   the order would, once and for all, preclude a party’s ability to
   proceed anonymously. Doe v. Vill. of Deerfield, 819 F.3d 372,
   376 (7th Cir. 2016). In other words, it would be impossible for
   a district court to meaningfully reconsider its order once the
   litigant amends the pleadings to include his or her real name.
   Cf. Praxis Props., Inc. v. Colonial Sav. Bank, S.L.A., 947 F.2d
   49, 56 (3d Cir. 1991), as amended on denial of reh’g (Nov. 13,
   1991) (holding, under the first Cohen prong, that “[w]e can
   perceive of no circumstances under which the district court
   would revisit the legal question” at issue).

         The second prong is also satisfied because an order
   denying a motion to proceed anonymously resolves an
   important issue separate from the underlying merits of the




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   dispute. The moving party must prove both the importance and
   separateness of the issue under consideration. United States v.
   Mitchell, 652 F.3d 387, 395 (3d Cir. 2011) (en banc). “[A]n
   issue is important if the interests that would potentially go
   unprotected without immediate appellate review are significant
   relative to efficiency interests sought to be advanced by
   adherence to the final judgment rule.” In re Search of Elec.
   Commc’ns, 802 F.3d 516, 524 (3d Cir. 2015). The interests
   asserted by litigants seeking anonymity can be enormously
   significant when compared to the interest in efficient litigation;
   in certain cases, severe harm may result from litigating without
   a pseudonym. See James v. Jacobson, 6 F.3d 233, 238 (4th
   Cir. 1993) (“[W]e think it presents a serious question—
   whether anonymity may be so refused—that requires
   settlement for precedential purposes as well as more immediate
   ones.”); see also Does I thru XXIII v. Advanced Textile Corp.,
   214 F.3d 1058, 1069 (9th Cir. 2000) (concluding, “based on
   the extreme nature of the retaliation threatened against
   plaintiffs coupled with their highly vulnerable status,” that the
   plaintiffs, Chinese workers complaining about working
   conditions, “reasonably fear severe retaliation, and that this
   fear outweighs the interests in favor of open judicial
   proceedings”). Indeed, we have held that, even though the “use
   of a pseudonym runs afoul of the public’s common law right
   of access to judicial proceedings[,]” litigants may proceed
   anonymously in exceptional cases where a reasonable fear of
   severe harm exists. Doe v. Megless, 654 F.3d 404, 408 (3d Cir.
   2011) (quotation marks and citations omitted). As for the
   separation between the merits of the case and the issue of
   proceeding anonymously, that seems self-evident. See S.
   Methodist Univ. Ass’n of Women L. Students v. Wynne & Jaffe,
   599 F.2d 707, 712 (5th Cir. 1979) (holding that civil rights
   plaintiffs’ right to remain anonymous was “plainly




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   independent and easily separable from ... their allegations that
   defendants have engaged in illegal sex discrimination”
   (quotation marks and citations omitted)). In the mine run of
   cases, as here, the former has nothing to do with the latter, nor
   the latter with the former.

            Finally, the denial of a motion to proceed anonymously
   is effectively unreviewable on appeal of a final judgment.
   Appellate review, after the litigant has amended the pleadings
   to include his or her true identity, would be of “no legal or
   practical value.” Advanced Textile Corp., 214 F.3d at 1066.
   Thus, the appeal of an order denying a motion to proceed
   anonymously is readily distinguishable from the grant of a
   motion to compel disclosure of privileged information in
   discovery, which the Supreme Court has held may be remedied
   “by vacating an adverse judgment and remanding for a new
   trial in which the protected material and its fruits are excluded
   from evidence.” Mohawk Indus., Inc., 558 U.S. at 109. Unlike
   remedying wrongfully compelled privileged information by
   vacating and remanding, we cannot anonymize a litigant’s
   already publicized identity with a new trial. That bell cannot
   be unrung.

           We therefore join the Fourth, Fifth, Seventh, and Ninth
   Circuits in concluding that orders denying motions to proceed
   anonymously are immediately appealable under the collateral
   order doctrine. See Vill. of Deerfield, 819 F.3d at 376;
   Advanced Textile Corp., 214 F.3d at 1067; James, 6 F.3d at
   238; S. Methodist Univ. Ass’n of Women L. Students, 599 F.2d
   at 712.




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           B.     The District Court did not abuse its
                  discretion in denying Doe’s motion.

            Having determined that we have jurisdiction, we now
    consider whether the District Court abused its discretion in
    denying Doe’s motion to proceed anonymously. To answer
    that question, we turn to the non-exhaustive, multi-factor test
    we employed in Doe v. Megless, where we asked whether the
    plaintiff presented a reasonable fear of severe harm meriting an
    exception to “the public’s common law right of access to
    judicial proceedings.” 654 F.3d at 408 (citation omitted); see
    Fed. R. Civ. P. 10(a) (“The title of the complaint must name all
    the parties[.]”). The factors in favor of anonymity include:

           (1) the extent to which the identity of the litigant
           has been kept confidential; (2) the bases upon
           which disclosure is feared or sought to be
           avoided, and the substantiality of these bases; (3)
           the magnitude of the public interest in
           maintaining the confidentiality of the litigant's
           identity; (4) whether, because of the purely legal
           nature of the issues presented or otherwise, there
           is an atypically weak public interest in knowing
           the litigant's identities; (5) the undesirability of
           an outcome adverse to the pseudonymous party
           and attributable to his refusal to pursue the case
           at the price of being publicly identified; and (6)
           whether       the    party     seeking    to     sue
           pseudonymously has illegitimate ulterior
           motives.

    Megless, 654 F.3d at 409 (citation omitted).         The factors
    advising against anonymity include:




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           (1) the universal level of public interest in access
           to the identities of litigants; (2) whether, because
           of the subject matter of this litigation, the status
           of the litigant as a public figure, or otherwise,
           there is a particularly strong interest in knowing
           the litigant's identities, beyond the public's
           interest which is normally obtained; and (3)
           whether the opposition to pseudonym by
           counsel, the public, or the press is illegitimately
           motivated.

    Id. (citation omitted).

           The Megless factors require a fact-specific, case-by-
    case analysis. Here, Doe argues that she will face harassment,
    reputational damage, economic harm, and professional stigma,
    as well as the publicizing of very personal information
    involving her minor children, pregnancy, and miscarriage, if
    she is forced to reveal her name. She says that the District
    Court erred because, rather than focusing on the Megless
    factors, it premised its conclusion on the generalization that
    employment discrimination cases are not normally the type of
    cases in which anonymity is appropriate. She also challenges
    the Court’s weighing of three of the Megless factors.
    Specifically, she says that the Court abused its discretion when
    assessing the “magnitude of the public interest in maintaining
    anonymity,” whether she had “illegitimate ulterior motives,”
    and the “level of public interest in access to [her] identit[y.]”
    Megless, 654 F.3d at 409 (citation omitted). The College, of
    course, responds that the District Court correctly balanced the
    Megless factors and was within its discretion in finding nothing
    exceptional about Doe’s suit. It characterizes the dispute as a
    “garden-variety      employment        discrimination      case.”
    (Answering Br. at 12.)




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           Doe’s first argument, that the District Court denied her
    motion not due to the Megless factors but because employment
    discrimination cases are not typically given anonymity, is
    based on an unfair reading of the Court’s decision. The District
    Court did balance the Megless factors. It did not say or imply
    that its decision turned on Doe’s claim being about
    employment discrimination. It merely observed that, with
    regard to a need for anonymity, her case was not meaningfully
    different from other employment disputes, which is true.

            Nor do Doe’s quibbles with the District Court’s
    weighing of specific Megless factors fare any better. Under the
    “public interest in maintaining anonymity” factor, Doe
    contends that the Court failed to consider her evidence and thus
    improperly held that the factor weighed against anonymity.
    But, as we explained in Megless, that factor requires a showing
    that, if anonymity is denied, “other[s] similarly situated [will]
    be deterred from litigating claims … the public would like to
    have litigated[.]” 654 F.3d at 410. Doe has not made that
    showing—certainly not in so clear a manner as to persuade us
    that the District Court abused its discretion in concluding the
    factor weighed against her.5 Further, a news article Doe

           5
              Doe’s cited cases are materially distinguishable
    because they evaluate motions to proceed anonymously under
    factually dissimilar circumstances. She first refers to cases in
    which the plaintiff sought anonymity in proceedings related to
    allegations of sexual assault, which are not present in Doe’s
    allegations. See Doe v. Trishul Consultancy, LLC, No. 18-
    16468, 2019 WL 4750078, at *5 (D.N.J. Sept. 30, 2019); see
    also Doe v. Rider Univ., No. 16-4882, 2018 WL 3756950, at
    *5-6 (D.N.J. Aug. 7, 2018). Cases where litigants seek
    anonymity on account of allegedly malicious prosecution or




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    attached to her Complaint as evidence of sexism in academia
    does not bridge that gap. The District Court correctly
    concluded that the article, although supportive of the
    contention that gender bias negatively affects female
    professors, does not explain why denying Doe anonymity
    would dissuade similarly situated women in academia from
    seeking judicial relief.6



    drug abuse treatment are also factually distinguishable from
    Doe’s allegations. See, e.g., Smith v. U.S. Office of Pers.
    Mgmt., No. 13-5235, 2014 WL 12768838, at *2 (E.D. Pa.
    Jan. 21, 2014) (granting unopposed motion to proceed
    anonymously where plaintiff feared stigma from drug
    addiction); Doe v. Wozniak, No. 08-1951, 2009 WL 10715510,
    at *4 (M.D. Pa. Mar. 3, 2009) (granting anonymity where
    plaintiff was allegedly charged with a felony without probable
    cause, the charges were dropped, and the plaintiff feared her
    teaching career would be jeopardized if the charges came to
    light).
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             Doe also misquotes our precedent when she says that
    “harassment and ridicule along with other economical and
    reputational harm” is sufficient to permit anonymity. (Opening
    Br. at 28 (citation omitted).) While Ninth Circuit precedent
    may hold that anonymity can, in exceptional cases, “shield
    plaintiffs from economic injury[,]” Advanced Textile Corp.,
    214 F.3d at 1070; see also Doe v. Apstra, Inc., No. 18-04190,
    2018 WL 4028679, at *1 (N.D. Cal. Aug. 23, 2018), we have
    held that it is “not enough” that “a plaintiff may suffer
    embarrassment or economic harm[,]” Megless, 654 F.3d at
    408 (citation omitted).




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            Doe is also wrong in declaring that the District Court
    disregarded the “absence of illegitimate ulterior motives”
    factor. She contends that the factor should have weighed in
    favor of anonymity because the Court said she had no
    illegitimate ulterior motives for seeking to litigate under a
    pseudonym. But TCNJ correctly points out that the District
    Court adopted the magistrate judge’s finding that the parallel
    factor against anonymity—namely, the absence of any
    illegitimate motive for opposing anonymity—also held true.
    Thus, since neither party was found to have ulterior motives,
    there was no abuse of discretion in concluding that the
    competing factors cancelled each other out in the balancing
    test.

           Finally, Doe says that the District Court attributed
    improper weight to the “public interest in open judicial
    proceedings.” (App. at 7.) To the contrary, though, the Court
    approached this factor with due discretion, “acknowledg[ing]
    the thumb on the scale that is the universal interest in favor of
    open judicial proceedings.” (App. at 13 (quoting Megless, 654
    F.3d at 411).) As we have noted, the public’s interest in open
    judicial proceedings always runs counter to a litigant’s interest
    in anonymity—the question is whether the interest in
    anonymity outweighs the public’s interest. Nothing in the
    District Court’s opinion suggests that it improperly weighed
    the public interest. Doe’s cherry-picked quotations from cases
    where the public’s interest in open judicial proceedings was
    outweighed by other concerns do not call into question the
    District Court’s sound exercise of discretion in this matter.




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    III.   CONCLUSION

          For the foregoing reasons, we will affirm the District
    Court’s denial of Doe’s motion to proceed anonymously.




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